Case 7:20-cv-06158-KMK Document 78 Filed 10/27/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

 

CONGREGATION RABBINICAL COLLEGE OF
TARTIKOV, INC.,, et al,

Plaintiffs,
No. 20-CV-6158 (KMK)

Vv.
ORDER OF DISMISSAL

VILLAGE OF POMONA, ef al.,

Defendants.

 

 

KENNETH M. KARAS, United States District Judge:

On September 24, 2021, the Court issued an Opinion and Order granting Defendants’
Motion To Dismiss and denying Plaintiffs’ Motion for a Preliminary Injunction. (See Op. &
Order (Dkt. No. 74).) The Opinion stated clearly that the “Complaint is dismissed without
prejudice” and afforded Plaintiffs the right to “file an amended complaint within 30 days of the date
of this Opinion & Order.” (/d. at 24.) Plaintiffs have since affirmed that they “are not filing an
amended complaint.” (Letter To Judge Kenneth M. Karas from Joseph Churgin, Esq., dated Oct. 25,
2021 (Dkt. No. 77).) Moreover, the time for Plaintiffs to have filed an amended complaint has
lapsed. Accordingly, the Clerk of Court is respectfully directed to dismiss and close this case.

SO ORDERED.

Dated: October 27, 2021
White Plains, New York
—

ETH M. KARA
TED ere DISTRICT JUDGE

 

 
